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                      UNITED STATES DISTRICT COURT
                                            District of Minnesota



Philip Sieff, as Trustee for the next-of-            JUDGMENT IN A CIVIL CASE
kin of Dawn Marie Pfister, Deceased,
                                   Plaintiff,
v.                                                        Case Number: 15-cv-419 PAM/DTS
Brady Juell, acting in his individual
capacity as a Chaska Police Officer,
City of Chaska,

                                   Defendant(s).




☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
  been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

           1.   The City of Chaska is REINSTATED as a Defendant in this matter;

           2.   The judgment in favor of Sieff and against Juell (Docket No. 71) is

     WITHDRAWN;

           3.   Defendant Brady Juell is DISMISSED;

           4.   Judgment is entered in favor of Sieff and against the City of Chaska in the

     amount of $1,000,001.01;

           5.   The City of Chaska shall pay Sieff $700,000 in attorney’s fees and

     $50,000 to settle the § 1988 claim;

           6.   Sieff’s Motion for Attorney’s Fees (Docket No. 72) is DENIED without

     prejudice; and
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      7.    This matter is DISMISSED with prejudice and without any additional

costs, disbursements, or attorney’s fees to any party.



Date: 5/23/2017                                      RICHARD D. SLETTEN, CLERK

                                                          s/Amy Halverson
                                                 (By) Amy Halverson, Deputy Clerk
